






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-04-417 CR


____________________



VERNON EARL WORLEY, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 80262






MEMORANDUM OPINION (1)


	Vernon Earl Worley was convicted and sentenced on an indictment for theft. 
Worley filed a notice of appeal on October 1, 2004.  The trial court entered a certification
of the defendant's right to appeal in which the court certified that this is a plea-bargain case
and the defendant has no right of appeal.  See Tex. R. App. P. 25.2(a)(2).  The trial
court's certification has been provided to the Court of Appeals by the district clerk.

	On October 28, 2004, we notified the parties that the appeal would be dismissed
unless an amended certification was filed within thirty days of the date of the notice and
made a part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM


Opinion Delivered December 8, 2004

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


